
SAWAYA, J.
We affirm on the authority of Westerheide v. State, 767 So.2d 637 (Fla. 5th DCA 2000), rev. granted, 786 So.2d 1192 (Fla.2001) and certify the same questions to be of great public importance:
1) DOES THE JIMMY RYCE ACT VIOLATE THE EX POST FACTO CLAUSES OF THE UNITED STATES AND FLORIDA CONSTITUTIONS?
2) DOES THE JIMMY RYCE ACT VIOLATE THE DOUBLE JEOPARDY CLAUSES OF THE UNITED STATES AND FLORIDA CONSTITUTIONS?
3) DOES THE JIMMY RYCE ACT VIOLATE THE DUE PROCESS CLAUSES OF THE UNITED STATES AND FLORIDA CONSTITUTIONS?
4) DOES THE JIMMY RYCE ACT VIOLATE THE EQUAL PROTECTION CLAUSES OF THE UNITED STATES AND FLORIDA CONSTITUTIONS?
AFFIRMED; QUESTIONS CERTIFIED.
PLEUS and PALMER, JJ., concur.
